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                      UNITED STATES DISTRICT COURT
    4
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
    5
                            WESTERN DIVISION
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    7
        TAAD GROUP, INC., a California )      Case No.: CV 20-6914 MWF
    8   corporation, doing business as   )    (AFMx)
        “PROTREND, LTD.”                 )
    9                                    )    [Assigned to The Honorable
                             Plaintiff,  )    Michael W. Fitzgerald- Courtroom
   10                                    )    5A]
        vs.                              )
   11                                    )    ORDER OF DISMISSAL
        THE HANOVER INSURANCE )               FRCP 41 (A)
   12   COMPANY, a New Hampshire )
        Corporation; CITIZENS            )
   13   INSURANCE COMPANY OF             )
        AMERICA, a Michigan              )
   14   Corporation, and DOES 1 to 100, )
        inclusive,                       )
   15                                    )
                             Defendants. )
   16
                                         )
   17

   18         Pursuant to the stipulation of the parties under Federal Rule of
   19   Civil Procedure 41(a)(1)(ii), IT IS ORDERED THAT THIS ACTION
   20   BE, AND HEREBY IS, DISMISSED WITH PREJUDICE as to all
   21
        claims, causes of action, and parties.
   22
             The Clerk is directed to close the file.
   23

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        Dated: November 10, 2021
   26                                     MICHAEL W. FITZGERALD
   27                                     United States District Judge
   28




                         ORDER OF DISMISSAL- FRCP 41(a)
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